Case 2:19-cr-20026-GAD-EAS ECF No. 130-3 filed 01/02/20 PagelD.954 Page1of2

Exhibit C

Transcription of June 8, 2018 meeting
Case 2:19-cr-20026-GAD-EAS ECF No. 130-3 filed 01/02/20 PagelD.955 Page 2 of 2

<> US. Legal
Ge

Support

September 10, 2019

Anjali Prasad

Prasad Legal PLLC
117 West Fourth St.
Suite 201

Royal Oak, MI 48067

Re: Karnati Transcription

To whom it may concern:

This letter is to inform you that the 3 court reporters I had listen to the audio from the video of
the meeting on June 8, 2018 could not transcribe it due to the very heavy accent of the
gentleman who came in late to the meeting. I did have 3 different reporters, that are very good

at transcribing, listen to the audio and none of them could make out what the gentleman was
talking about.

Sincerely,

Meredith Ann Thorson
Office Manager
Sender’s title or department

Enclosure

QNONN Talanranh Dand Cita DOI Dinaham Carme Mishiaan AONIE
